                                                                                  DISTRICT OF OREGON
                                                                                       FILED
                                                                                     August 29, 2011
                                                                               Clerk, U.S. Bankruptcy Court



  Below is an Order of the Court.




                                                                     _____________________________
                                                                            TRISH M. BROWN
                                                                          U.S. Bankruptcy Judge
                           UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF OREGON

In re                                                  Case No. 11-30477-tmb7
CGF LLC, dba Cascade Garden Farms and
fdba GEM Tumalo, LLC,
        Debtor.


Amy Mitchell, Trustee,                                 Adv. No. 11-03056-tmb

                         Plaintiff,                    STIPULATED LIMITED JUDGMENT
                                                       OF DISMISSAL OF GISLER,
         vs.                                           MADISON, AND PIERCE WEALTH
                                                       PARTNERS FUND #1, LLC
Patrick M. Gisler, an individual, Pierce
Wealth Partners Funds #1, LLC, a Colorado
limited liability company, and Eric D. Cole,
Kathryn L. Cole, and Reece E. Madison,
individuals,

                         Defendants.


         Based on the Order Approving Settlement (AP Doc. 27) and the following stipulation of

plaintiff and certain defendants Patrick M. Gisler (“Gisler”), Reece E. Madison, (“Madison”),

and Pierce Wealth Partners Fund #1, LLC, a Colorado LLC (“Pierce Wealth”), it is

         ADJUDGED as follows:

         1.       The parties Gisler, Madison, and Pierce Wealth are hereby dismissed from this

Adversary Proceeding with prejudice; and

         2.       Neither plaintiff nor the dismissed parties are awarded any costs or disbursements.



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       3.       Because the defendants Eric D. Cole and Kathryn L. Cole decided not to settle as

was originally represented to the Court at the last status hearing, the Court’s Order Re: Dismissal

or Other Final Disposition Effective Within 60 Days (AP Doc. 28) is no longer applicable and

this adversary proceeding shall not be dismissed. The Clerk of the Court shall set a status

hearing to address the trial and discovery deadlines regarding the claims against the remaining

defendants.

                                               ###
STIPULATED AND AGREED:

BALL JANIK LLP                                    SCHWABE WILLIAMSON & WYATT PC

By: /s/ Justin D. Leonard                         By: /s/ Brian L. Gingerich
   Justin D. Leonard, OSB No. 033736                  Brian L. Gingerich, OSB No. 920174

Attorneys for Trustee Amy Mitchell                Attorneys for Defendants Reece E. Madison
                                                      and Pierce Wealth Partners Funds #1,
                                                      LLC

                                                  MCEWEN GISVOLD LLP

                                                  By: /s/ James Ray Streinz
                                                      James Ray Streinz, OSB No. 794107

                                                  Attorneys for Defendant Patrick M. Gisler
Presented by:

BALL JANIK LLP

By: /s/ Justin D. Leonard
   Justin D. Leonard, OSB No. 033736
   Attorneys for Trustee

cc:    Brian L. Gingerich & James Ray Streinz via ECF




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